          Case 4:18-cr-00171-JEG-CFB Document 37 Filed 11/13/18 Page 1 of 8




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF IOWA
                                  CENTRAL DIVISION

UNITED STATES OF AMERICA,
      Plaintiff,
                                                             No. 4:18-cr-00171–JEG
vs.
                                                                    ORDER
VINCENT MITCHELL BALLARD,
      Defendant.

      This matter is before the Court on a Motion to Suppress filed by Defendant Vincent

Mitchell Ballard (Ballard). The Government resists. A hearing was held on the matter on

October 25, 2018. Attorney F. Montgomery Brown represented Ballard. Assistant United States

Attorney Ryan Leemkuil represented the Government. The matter is fully submitted and ready

for disposition.

I.    BACKGROUND

      The Court makes the following findings of fact for the purposes of the pending motion. In

the summer of 2018, Officer Michael Fong (Officer Fong) of the Des Moines Police Department

(DMPD) was investigating a complaint about a high volume of short-term traffic at 2005 27th

Street in Des Moines. By June 2018, Officer Fong verified through the Iowa Department of

Transportation records and a secure law enforcement database that 2005 27th Street was a

residence and that Ballard lived there. Officer Fong also learned that Ballard had a valid and

outstanding arrest warrant, and he shared this information with other DMPD teams. In July

2018, Officer Fong received additional information from a confidential informant and other

DMPD teams connecting Ballard to potentially criminal activity.1


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        During the suppression hearing, Mr. Brown challenged the credibility of the information
Officer Fong received in July 2018, arguing that it was insufficient to establish probable cause to
support the search warrant. The Court asked Mr. Brown whether Ballard was now challenging
the sufficiency of the search warrant affidavit, as that issue had not been raised in his motion to
suppress. Mr. Brown clarified that the sufficiency argument was tied to the argument that the
       Case 4:18-cr-00171-JEG-CFB Document 37 Filed 11/13/18 Page 2 of 8




      Around 7:19 p.m. on July 24, 2018, a special enforcement team (SET) member, Officer

Garrett, observed Ballard on the front porch of 2005 27th Street while conducting surveillance of

the residence. Officer Garrett coordinated with other SET officers (Officers Dempsey, Hume,

Minnehan, and Steinkamp) to approach Ballard. Officer Minnehan testified that as the officers

approached, Ballard fled into the residence. Officer Steinkamp forced the front door of the

residence open to allow the officers to follow. The officers were unable to find Ballard on the

main floor of the residence, but they did view methamphetamine pipes and bongs in plain view

on the kitchen table.

      Continuing their search for Ballard, the officers entered the basement of the residence. The

basement appeared dark and had multiple rooms. Officer Minnehan testified that he entered a

room that contained a bed, an ottoman, and several other pieces of furniture. Officer Minnehan

said that he looked under the bed, which he believed, based on his training and experience, could

conceal a man beneath its frame. Instead of finding Ballard underneath the bed, Officer

Minnehan observed two plastic baggies containing a substance that appeared to be metham-

phetamine. Officer Minnehan did not touch the baggies, move any part of the bed, or look under

the ottoman. Officer Minnehan stated that his training and experience taught him that indi-

viduals often hide underneath beds. Based on what Officer Minnehan could see in the basement

room, he testified that he believed that someone could fit underneath the bed, but not underneath



information acquired during the unreasonable search was fruit of the poisonous tree and should
be suppressed, making the remainder of information provided in the affidavit, including the
information provided by the informant, insufficient to establish probable cause. This argument is
mooted by the Court’s conclusion herein that the search was not unreasonable under the Fourth
Amendment, and therefore the evidence discovered during that search need not be suppressed.
Thus, even if a challenge to the informant information was upheld, other portions of the search
warrant application were sufficient to establish probable cause. See United States v. Swope, 542
F.3d 609, 616 (8th Cir. 2008) (finding that although portions of a warrant application are tainted
and must be excised, the untainted portions can stand as sufficient to support a finding of
probable cause).

                                                2
         Case 4:18-cr-00171-JEG-CFB Document 37 Filed 11/13/18 Page 3 of 8




the ottoman. The record contains photo and video exhibits showing the basement bedroom, the

bed that Officer Minnehan looked underneath, and the space underneath the bed. The Court

finds Officer Minnehan’s testimony consistent with the exhibits, which reveal the actual space

between the bed and the floor.

      Officer Minnehan and the other officers continued their search for Ballard in the basement,

eventually finding Ballard behind a bar in an adjacent room. Officer Minnehan detained Ballard

at that time. After Ballard was given Miranda2 warnings, he made several statements to Officer

Fong.3 Four other individuals were also detained.

      Later in the day on July 24, 2018, officers obtained and executed a search warrant for 2005

27th Street, included in its scope were the house, the garage, and multiple vehicles on the

property. The warrant application contained details of the entry into Ballard’s home earlier that

same day, including the officers’ observations of the pipe and bongs on the kitchen table, as well

as the two baggies under the bed in the basement. Pursuant to the warrant, officers found

approximately 47 grams of methamphetamine in two baggies under the basement bed, approx-

imately 100 blue tablets marked “100,” working digital scales, cell phones, IRS paperwork in

Ballard’s name, and used drug paraphernalia.

      On August 29, 2018, a grand jury returned a one-count indictment against Ballard. The

indictment charges Ballard with Possession with Intent to Distribute Methamphetamine in

violation of 21 U.S.C. § 841(a)(1), (b)(1)(C). On October 10, 2018, Ballard filed a motion to

suppress evidence and statements stemming from the July 24, 2018 entry of his home. The

Government filed a response in opposition on October 17, 2018.


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         Miranda v. Arizona, 384 U.S. 486 (1966).
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       Ballard moves to suppress these statements as fruits of the unlawful search under the bed.
Neither argument nor evidence regarding the content of the statements was offered at the
suppression hearing. The statements were not used to support the search warrant.

                                                 3
          Case 4:18-cr-00171-JEG-CFB Document 37 Filed 11/13/18 Page 4 of 8




II.   DISCUSSION

      Ballard moves to suppress physical evidence and statements stemming from the search of

his home. Although Ballard originally argued that the initial entry into the residence was

unlawful, at the suppression hearing, he conceded that argument under United States v. Clayton,

210 F.3d 841, 843 (8th Cir. 2000) (“A valid arrest warrant carries with it the authority to enter

the residence of the person named in the warrant in order to execute the warrant so long as the

police have a reasonable belief that the suspect resides at the place to be entered and that he is

currently present in the dwelling.”).4 Ballard argues, however, although Officer Minnehan

lawfully entered the residence, it was unlawful for Officer Minnehan to look underneath the

basement bed. Thus, Ballard argues, all references to contraband observed under the bed must

be excised from the application for the search warrant and the search warrant would therefore

fail for lack of probable cause.

      The Government argues that the initial entry into the home was lawful, and that, once

lawfully in the home, officers could look anywhere Ballard may reasonably be found, including

under the basement bed.

      A. Constitutionality of Observation of the Contraband

      The Fourth Amendment protects “[t]he right of the people to be secure in their persons,

houses, papers, and effects, against unreasonable searches and seizures.” U.S. Const. amend. IV.

When inside a home, searches and seizures without a warrant are presumptively unreasonable.

Payton v. New York, 445 U.S. 573, 586, (1980). However, “[a] valid arrest warrant carries with



      4
        Applying Clayton to the present case, it is clear the officers legally entered Ballard’s
residence because they had knowledge of his valid arrest warrant, and had a reasonable belief
both that Ballard resided at the residence and was currently present at the residence. See
Clayton, 210 F.3d at 843; see also United States v. Glover, 746 F.3d 369, 373 (8th Cir. 2014)
(noting that an officer’s reasonable belief is based upon the totality of the circumstances known
to the officer prior to entry).


                                                  4
         Case 4:18-cr-00171-JEG-CFB Document 37 Filed 11/13/18 Page 5 of 8




it the authority to enter the residence of the person named in the warrant in order to execute the

warrant so long as the police have a reasonable belief that the suspect resides at the place to be

entered and that he is currently present in the dwelling.” Clayton, 210 F.3d at 843. An arrest

warrant cannot justify a full-blown search of the arrestee’s home, Chimel v. California, 395 U.S.

752, 763 (1969), for fear of disregarding the Fourth Amendment’s disdain for the use of general

warrants, id. at 760-61. Therefore, officers lawfully present in a home to make an arrest remain

in a lawful position from which to observe evidence as long as they look only in places where a

person could be hiding. See Maryland v. Buie, 494 U.S. 325, 328 (1990) (reiterating that while

pursuing a suspect in the execution of an arrest warrant, the Fourth Amendment permits a pro-

tective sweep of premises “if the searching officer possesse[d] a reasonable belief based on

specific and articulable facts which, taken together with the rational inferences from those facts,

reasonably warrant[ed] the officer in believing, that the area swept harbored an individual posing

a danger to the officer or others” (alterations in original) (internal quotation marks and citations

omitted)). “Possessing an arrest warrant and probable cause to believe [the defendant] was in his

home, the officers were entitled to enter and to search anywhere in the house in which [the

defendant] might be found.” Id. at 332-33.

      Ballard concedes the officers were lawfully present to execute an arrest warrant and does

not assert that a seizure of evidence took place during or after the search. Accordingly, this case

is not on all fours with either the application of the protective sweep or the plain view doctrines.

See, e.g., United States v. Ford, 888 F.3d 922, 925 (8th Cir. 2018) (analyzing under the protec-

tive sweep doctrine, a challenge to the scope of a protective sweep incident to arrest); United

States v. McLevain, 310 F.3d 434, 439 (6th Cir. 2002) (analyzing under the plain view doctrine,

the reasonableness of the seizure of evidence during a search in the execution of a valid arrest

warrant).5


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      “The protective sweep doctrine allows officers to make a ‘quick and limited search of
premises, incident to an arrest and conducted to protect the safety of police officers or others.’”

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       Case 4:18-cr-00171-JEG-CFB Document 37 Filed 11/13/18 Page 6 of 8




      Eighth Circuit precedent applying the protective sweep and plain view doctrines supports

the conclusion that it was objectively reasonable for Officer Minnehan to look under the bed

when searching for Ballard. In Ford, 888 F.3d at 925, officers entered a residence to execute an

arrest warrant. While searching one of the bedrooms, an officer moved the bed from the wall,

unveiling a gun. Id. The defendant moved to suppress arguing, inter alia, that the scope of the

protective sweep violated the Fourth Amendment. Id. at 925. The court held that pulling the bed

from the wall during the search was reasonable in trying to find the defendant and that the gun

the defendant had tossed under the bed was revealed in plain sight as a result. Id. at 928. In

United States v. Parker, 412 F.3d 1000, 1002 (8th Cir. 2005), the court found no Fourth Amend-

ment violation where an officer, reasonably concerned for his safety and the safety of his team

during search for a federal fugitive, lawfully lifted up the mattress in a trailer home based on the

officer’s knowledge and experience that beds in trailers are often just mattresses covering storage

areas, which are potential hiding places.

      Cases from the Sixth Circuit are also instructive. In McLevain, 310 F.3d at 439 (6th Cir.

2002), the court was considering the reasonableness of the seizure of evidence under the plain

view doctrine. In that case, the officers were searching a residence for an individual named in

the search warrant. Id. at 438. During their search, in plain view, the officers saw a twist tie and

a cigarette filter under a bed in the house, and in the garage, they saw a spoon with residue in the

sink and a bottle with liquid on the fireplace mantle. Id. An officer performed a field test on the



Ford, 888 F.3d at 927 (quoting Buie, 494 U.S. at 327). “Officers may always ‘look in closets
and other spaces immediately adjoining the place of arrest from which an attack could be
immediately launched,’ and may sweep beyond that if they have a reasonable belief, based on
specific and articulable facts, that the area searched harbors a person posing a danger to officers
or others.” Id. (quoting Buie, 494 U.S. at 334).
      The test for analyzing the plain view doctrine has four prongs: (1) the officers must be
legally present, (2) the item seen must immediately appear to be evidence, (3) the item seized
must actually be in plain view, and (4) the officers must have lawful access to the item.
McLevain, 310 F.3d 434 at 439.

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       Case 4:18-cr-00171-JEG-CFB Document 37 Filed 11/13/18 Page 7 of 8




spoon residue, suspecting it was an illegal drug. Id. In applying the plain view doctrine, the

court reasoned that the officers were legally present in the defendant’s home to execute a valid

search, and that their search being under the bed and in the garage–—that is, “where a man could

hide”—made the plain view objectively reasonable. Id. at 438-39. However, the court held that

the field test of the residue constituted an unreasonable seizure because the items seen in plain

view were not “intrinsically incriminating” and it was not “immediately apparent” the items were

contraband. Id. at 440-43. In United States v. Flores, 193 F. App’x 597, 604 (6th Cir. 2006)

(unpublished), the court held that an officer, who had been given consent to search for a fugitive

in a third-party’s home, need not “first measure how far the bed is off the floor and then deter-

mine whether a person could fit under it before actually looking” under the bed.

      In this case, it is clear that the officers entering the home were lawfully in the home for the

purpose of executing the arrest warrant. Clayton, 210 F.3d at 843. In order to make the arrest,

the officers needed to find Ballard, who was the individual named in the warrant. They were

allowed, under the law, to look anywhere that Ballard might be. Buie, 494 U.S. at 330. Upon

entering the darkened basement, and seeing a bed, it was objectively reasonable for Officer

Minnehan to assess that Ballard could be under the bed. While neither party argued the exact

measurements of the clearance between bed and floor, the Court finds that the bed appeared to be

raised off of the floor. Even if the gap was narrow, it was objectively reasonable for Officer

Minnehan to look under the bed. The Court finds that it was objectively reasonable under the

Fourth Amendment for Officer Minnehan to believe an individual could be under the bed. His

observation of the contraband while lawful searching that location was properly used in support

of the application for search warrant.




                                                  7
      Case 4:18-cr-00171-JEG-CFB Document 37 Filed 11/13/18 Page 8 of 8




     Having concluded the officers’ search for Ballard under the bed was objectively reason-

able, the Court does not consider the alternative argument the Government raises under United

States v. Leon, 468 U.S. 897, 922 (1984).

III. CONCLUSION

     The Court concludes that the officers were in a lawful position when they observed drugs

and drug paraphernalia in the Defendant’s home on July 24, 2018. Accordingly, Defendant’s

Motion to Suppress, ECF No. 26, must be denied.

     IT IS SO ORDERED.

     Dated this 13th day of November, 2018.




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